Case 2:02-cr-20380-STA Document 308 Filed 05/04/05 Page 1 of 2 Page|D 346

IN THE UNITED sTATEs DISTRICT CoURT H'“E"’ BEJ‘ » il€»`-
FoR THE WESTERN DISTRICT oF TENNESSEE DL~ H_,i.i_, _ i i

WESTERN DIVISION " ~‘ = lt fist ll= 142

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MICHAEL R. SMITH, 'ii f ' ii ~ :.'< ms

Petitioner,
v. NO. 02-20330-B/v

UNITED STATES OF AMERICA,

 

ORDER OF REFERENCE

 

Before the court is Michael R. Srnith’s Application for Bail Pending Resolution of
Pending Appeal Pursuant to F.R.A.P. rule 9(A) Title 18 U.S.C. § 3143(B) filed on April 28,
2005.

This petition is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the

obj ections.

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IT rs so oRDERED mrs day of May, 2005.

 

J. DANIEL BREEN
ED STATES DISTRICT JUDGE

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UNITED `SETATSDISTRICT COUR - W"'ERNT D'S'TRCT 0 TESSEE

     

Notice of Distribution

This notice confirms a copy of the document docketed as number 308 in
case 2:02-CR-203 80 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Bruce I. Griffey

LAW OFFICES OF BRUCE l. GRIFFEY
142 North Third St.

3rd Floor

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

